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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS



UNITED STATES OF AMERICA,           )
                                    )
                        Plaintiff,  )                 Case No. 11-40046-03-RDR
            v.                      )
                                    )
MIRANDA C. MAUK,                    )
                        Defendant.  )
____________________________________)

                                    ORDER TO CONTINUE

       NOW on this 17th day of August, 2011, the Court, having read and considered the

Defendant’s Motion For Continuance of Time to File Pretrial Motions, establish new dates for

responses and a hearing date for the motions in this matter by one hundred twenty (120) days, and

being satisfied that good cause exists,

       IT IS HEREBY ORDERED, ADJUDGED AND DECREED that the deadline for filing

pretrial motions is December 16, 2011. Responses to the pretrial motions shall be filed by

December 30, 2011. A hearing date for the motions shall be set on January 13, 2012 at 9:30 a.m.

       IT IS FURTHER ORDERED, ADJUDGED AND DECREED that the time for continuance

is excludable pursuant to Title 18, United States Code, Section 3161(h)(3)(A), in that the ends of

justice by granting this continuance will outweigh the best interest of the public and the defendant

in a speedy trial, as set out in Title 18, United States Code, Section 3161(h)(3)(A).

       IT IS SO ORDERED.

                                              s/Richard D. Rogers
                                              United States District Judge
